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     Federal Defender
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     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     DENNA CHAMBERS
6
7
8                                    UNITED STATES DISTRICT COURT
9                                   EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                    )   Case No. 2:16-cr-010 MCE
                                                  )
11                           Plaintiff,           )   STIPULATION TO CONTINUE STATUS
                                                  )   CONFERENCE AND TO EXCLUDE TIME;
12         v.                                     )   ORDER
                                                  )
13   DENNA CHAMBERS and                           )   Date: December 7, 2016
     STARSHEKA MIXON                              )   Time: 10:00 a.m.
14                                                )   Judge: Hon. Morrison C. England, Jr.
                             Defendants.          )
15
             The parties agree that the status conference scheduled for December 7, 2016 is vacated
16
     and continued to December 15, 2016 at 10:00 a.m. Counsel for defendant, Chambers, needs
17
     additional time to consult with his client, review discovery and consider investigation.
18
             Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
19
     excluded from this order’s date through and including December 15, 2016, pursuant to 18 U.S.C.
20
     §3161 (h)(7)(A) and (B)(iv) [reasonable time to prepare] and General Order 479, Local Code T4
21
     based upon continuity of counsel and defense preparation.
22
     DATED: November 23, 2016                               Respectfully submitted,
23
                                                            HEATHER E. WILLIAMS
24
                                                            Federal Defender
25
                                                            /s/ Matthew C. Bockmon
26                                                          MATTHEW C. BOCKMON
                                                            Assistant Federal Defender
27                                                          Attorney for DENNA CHAMBERS
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      Stipulation to Continue Status Conference       -1-
       Case 2:16-cr-00010-TLN Document 57 Filed 11/30/16 Page 2 of 3


1    DATED: November 23, 2016                           /s/ Kelly Babineau
                                                        KELLY BABINEAU
2                                                       Attorney for STARSHEKA MIXON
3
4    DATED: November 23, 2016                           PHILLIP A. TALBERT
                                                        Acting United States Attorney
5
                                                        /s/ Shelley D. Weger
6                                                       SHELLEY D. WEGER
7                                                       Assistant U.S. Attorney
                                                        Attorney for Plaintiff
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      Stipulation to Continue Status Conference   -2-
       Case 2:16-cr-00010-TLN Document 57 Filed 11/30/16 Page 3 of 3


1                                                     ORDER
2            The Court, having received, read, and considered the parties’ stipulation, and good cause
3    appearing therefrom, hereby adopts the parties’ stipulation in its entirety as its order. The Court
4    specifically finds the failure to grant a continuance in this case would deny defense counsel
5    reasonable time necessary for effective preparation, taking into account the exercise of due
6    diligence. It further finds the ends of justice are served by granting the requested continuance
7    and outweigh the best interests of the public and the defendants in a speedy trial.
8            Time from November 23, 2016, the date of the parties stipulation, up to and including
9    December 15, 2016, shall be excluded from computation of time within which the trial of this
10   case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A)
11   and(B)(iv) [reasonable time for defense counsel to prepare] and General Order 479, (Local Code
12   T4) [defense counsel’s preparation]. It is further ordered the December 7, 2016 status
13   conference shall be continued until December 15, 2016, at 10:00 a.m.
14           IT IS SO ORDERED.
15   Dated: November 29, 2016
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      Stipulation to Continue Status Conference       -3-
